                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       GREENEVILLE

  JEREMIAH WALDROP, and                                 )
  PHILLIP SELF, as individuals,                         )
                                                        )
          Plaintiffs,                                   )
                                                        )
  v.                                                    )       No. 2:19-cv-00103-JRG-CRW
                                                        )       JURY DEMAND
  JOHNSON CITY, TENNESSEE,                              )
                                                        )
          Defendant.                                    )


       ANSWER OF THE CITY OF JOHNSON CITY, TENNESSEE TO PLAINTIFFS’ FIRST
                              AMENDED COMPLAINT

          Comes now the City of Johnson City, Tennessee (“Johnson City”) and responds to the

  plaintiffs’ First Amended Complaint (“Complaint”) [Doc. 72] filed against it and would answer as

  follows:

                                          FIRST DEFENSE

          1.      The nature of the plaintiffs’ Complaint is noted, but denied that deprivations have

  occurred as a result of the actions of this responding defendant such that the plaintiffs are entitled

  to the relief requested.

          2.      It is denied that on September 15, 2018, the plaintiffs were threatened with arrest

  pursuant to the City’s “Special Event Policy, Procedure and Application.” To the City’s

  knowledge, the only officer who cautioned as to the possibility of arrest was Lt. Peters as alleged

  in paragraph 100. Lt. Peters’ action was taken pursuant to instructions given by senior Police

  Department officials on the day of the TriPride event. The authority for giving those instructions

  was that TriPride had obtained a permit to use Founders Park for a limited period of time on

  September 15, 2018 to hold a Festival. It is denied that the City of Johnson City had any legal duty

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  to provide training to the officers beyond the training required by Tennessee law. Any additional

  allegation sought to be asserted in Paragraph two (2) of the Complaint is denied.

          3.     The plaintiffs’ announcement challenging the City of Johnson City’s training

  practices and customs is noted.

          4.     The plaintiffs’ announcement challenging the City’s policies, or its employees

  conduct on September 15, 2018 is noted.

          5.     The allegations in Paragraph 5 are admitted.

          6.     The allegations in Paragraph 6 are admitted.

          7.     The allegations contained in Paragraph seven (7) of the Complaint are admitted in

  part and denied in part.

          With respect to the allegations in the first two sentences, it is admitted that the City of

  Johnson City (“City” or “Johnson City”) is a duly incorporated municipality in and of the State of

  Tennessee and has the ability to sue and be sued. The City of Johnson City, by way of its governing

  board, the Johnson City City Commission, is acknowledged to have all the necessary authority to

  operate and pass policies relevant to the operation of a municipality, but denied the governing

  board adopted the Special Event Policy which is the subject of this litigation. Moreover, the City’s

  Special Event Policy does not address or control the circumstances that arose related to the

  plaintiffs.

          With respect to the allegations in the third sentence, the Johnson City officers working the

  September 15, 2018 TriPride Parade and Festival had all of the training required by Tennessee

  law. The officers who interacted with the plaintiffs related to complaints from TriPride

  representatives were following the instructions given to them in a briefing at the Johnson City

  Police Department the morning of the event. Officers are not interpreting, enforcing, or applying



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  the Special Events Policy and were not trained on the Policy.

          With respect to the allegations in the fourth sentence, those allegations are denied to the

  extent that the plaintiffs are alleging that every action of an officer is an action of the City.

          With respect to the allegations in the fifth sentence, those allegations are denied as stated.

  It is admitted that the City is the employer of the named officers and any other Johnson City

  officers who were working the September 15, 2018 TriPride Parade and Festival. It is admitted

  that Johnson City is responsible for the training of its officers.

          With respect to the allegations in the sixth sentence, Johnson City denies that the actions

  of its officers on September 15, 2018 were unlawful.

          With respect to the allegations in the seventh sentence, it is denied that Johnson City has

  ratified an unlawful interpretation, enforcement, or application of the Policy. This is a legal concept

  that is inapplicable to this action because this theory would only apply where there was a repeated

  history of unconstitutional conduct known to City decisionmakers prior to September 15, 2018.

          With respect to the allegations in the eighth sentence, it is denied that Johnson City is

  defending an unlawful position and denied that Johnson City will not abide by any final judgment

  in this action.

          8.        The nature of the plaintiffs’ Complaint is noted, but it is denied this responding

  defendant violated the plaintiffs’ constitutional rights or that they are entitled to the relief sought.

          9-10. Jurisdiction before this Court is admitted.

          11.       Admitted that this Court may exercise supplemental jurisdiction over state law

  claims, but denied that it should exercise such jurisdiction until such time as the federal claims are

  first addressed.

          12.       Admitted this Court’s authority encompasses the granting of declaratory judgments



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  and preliminary and permanent injunctions, but it is denied that this case necessitates this Court’s

  need to exercise such authority.

          13.     Admitted this Court has the authority to grant awards and remedies to persons

  where constitutional rights are proven to have been violated, but it is denied that the plaintiffs are

  entitled to any of the relief sought.

          14-15. Venue is stipulated to be proper.

          16.     Upon information and belief, admitted.

          17.     Upon information and belief, admitted.

          18.     Plaintiffs purported reasons for bringing this action are noted, but it is denied that

  this responding defendant violated the rights of the plaintiffs.

          19.     Admitted that public spaces such as parks, public streets, public sidewalks, and

  public rights-of-way can serve as traditional public fora depending on the time, place, and manner

  of the intended use.

          20.     Admitted that public spaces may be utilized for various activities subject to certain

  time, place, and manner limitations.

          21.       Upon information and belief, admitted.

          22.     The allegation is neither admitted nor denied due to a lack of sufficient knowledge

  or information.

          23.     The allegations in paragraph 23 are admitted in part and denied in part. It is admitted

  that the plaintiffs were not encouraging violence. But some of the comments by the plaintiffs

  and/or their associates were vile and harassing in nature towards TriPride attendees. While vile

  and harassing comments are generally entitled to First Amendment protection, TriPride officials

  reasonably could have concluded that such comments were interfering with TriPride’s own



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  expressive message during the limited period of time that it controlled the footprint of the reserved

  space.

           24.    The plaintiffs’ level of desire to engage in peaceful activities is incapable of being

  known to this responding defendant and the allegations contained in Paragraph twenty-four (24)

  of the Complaint are neither admitted nor denied.

           25.    This responding defendant is without sufficient knowledge or information to admit

  or deny the various ways the plaintiffs may attempt to share their faith.

           26.    This responding defendant is without sufficient knowledge or information to admit

  or deny the plaintiffs’ activities directed to a distribution of free literature, but it is admitted that

  the plaintiffs or those accompanying the plaintiffs do on occasion carry portable signs.

           27.    Admitted.

           28.    This responding defendant is without sufficient knowledge to admit or deny if the

  plaintiffs engage with others in the manner described in Paragraph twenty-eight (28) of the

  Complaint except and to the extent that the video recording made by the plaintiffs on September

  15, 2018 shows the plaintiffs and/or their associates engaging in discussions that were not

  respectful.

           29.    This responding defendant is incapable of verifying any religious mandate the

  plaintiffs may have or the source of such mandate with respect to their use of public spaces in

  Johnson City.

           30.    This responding defendant is not familiar with or have information related to the

  planned activities of the plaintiffs and any constitutional-protected activities within Johnson City’s

  public spaces and therefore cannot admit or deny the allegations.

           31.    Denied.



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           32.     Admitted to the extent it is consistent with the answer to Paragraph seven (7) of

  the Complaint.

           33.     Admitted.

           34.     Admitted.

           35.     Admitted.

           36.     Admitted.

           37.     As an initial matter it is denied the allegations in Paragraphs thirty-seven (37)

  through forty-nine (49) rise to a level of a pattern or practice creating municipal liability under

  Section 1983. It is admitted Plaintiff Waldrop was “peaceful” when he was on a public sidewalk

  outside Rotary Park on September 7, 2014.

           38.     It is admitted that at approximately 2:35 p.m. Sergeant Mominee arrived on scene

  where Plaintiffs Waldrop and Self and others were preaching from a sidewalk with amplification

  toward a gathering of TriPride attendees in Rotary Park. It is denied four (4) officers arrived on

  scene.

           39.     Denied.

           40.     Denied, as stated.

           41.     Denied, as stated.

           42.     Denied as stated, but admitted Sergeant Mominee cautioned Plaintiffs Waldrop and

  Self and their associate that they would be issued a citation if they continued to use amplification

  or yelling targeting the TriPride meeting or gathering so as to disrupt it in violation of Tenn. Code

  Ann. § 39-17-306.

           43.     Admitted that Sergeant Mominee returned with a TriPride representative in an

  attempt to reach an acceptable final resolution of the matter to include avoidance of future conflicts



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  between those involved. The attempt was not successful. The remaining allegations in Paragraph

  forty-three (43) of the Amended Complaint are denied.

         44.     It is admitted that Plaintiffs Waldrop and Self and their associate elected to leave

  the sidewalk even though it was clear to them that they could continue preaching so long as

  amplification or yelling was not employed.

         45.     The letter sent to then Chief of Police Sirois dated October 15, 2014 conveyed

  inaccurate facts and inaccurately implied that Waldrop’s constitutional rights had been violated

  and therefore the allegation is denied as stated.

         46.     Admitted.

         47.     Admitted that such a letter was sent, but denied the letter contained accurate

  information.

         48.     It is admitted that on September 3, 2015 legal counsel for the City responded to an

  American Liberties Institute letter acknowledging the free speech rights of Plaintiff Waldrop and

  welcoming his continued exercise of those rights consistent with existing law.

         49.     The allegations contained in paragraph forty-nine (49) of the Amended Complaint

  cannot be verified because former Chief Sirois’ deposition has not been received, though timely

  requested. Therefore, the allegation is neither admitted nor denied

         50.     Admitted.

         51.     Admitted.

         52.      Admitted.

         53.     Admitted with the exception that it was the Johnson City Development Authority

  (JCDA) that initially approved TriPride’s application for a Festival in Founders Park.

         54.     Admitted.



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         55.       Admitted.

         56.       Admitted with the exception that TriPride was given control over who entered the

  Festival area.

         57.       Admitted, but all members of the public were required to pass through security

  checkpoints to reach the TriPride Festival area as well as other sections of a designated secured

  area around Founders Park.

         58.       Admitted.

         59.       Admitted with the exception that during the limited time of the Festival, TriPride

  was given control over who entered the Festival area.

         60.       Denied.

         61.       Denied as stated. Ms. Keenan testified: “Exclusive would be a ticketed event where

  the individuals are paying for an event that is ticketed.” Also, “and then “exclusive’ event can also

  be a private event, whether it’s ticketed or not ticketed.’” Ms. Keenan did not classify the TriPride

  Festival permit as “non-exclusive.”

         62.       Denied. Ms. Keenan testified: “And a “non-exclusive” event would be open to the

  public and not a ticketed event.”

         63.       Admitted that the deposition testimony quoted is accurately reflected in Paragraph

  sixty-three (63) of the Complaint, but denied that this testimony supports plaintiffs’ position that

  TriPride was prohibited from excluding persons who were disruptive to its expressive message.

         64. Admitted that the deposition testimony is accurately quoted, but denied that the

  interpretation of TriPride’s control of attendees to the Festival was limited to security, but rather

  the City provided adequate security in light of threats received so as to allow TriPride to conduct

  its Festival for the purposes for which it had submitted an application.



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            65.    Admit that Brian Rice testified, “Well, I think in itself, no, sir, we would not.” And

  therefore, the allegation is denied as stated.

            66.    Admit that Brian Rice agreed with the statement that “no one should be removed

  from Founders Park unless they were a security threat.”

            67-70. The allegations contained in paragraphs sixty-seven (67) through seventy (70) of

  the Amended Complaint cannot be verified because the transcript of the Kenn Lyon deposition

  taken on July 1, 2020 has yet to be received. Therefore, the allegations are neither admitted nor

  denied.

            71.    Admitted.

            72.    Admitted that the testimony quoted in Paragraph seventy-two (72) of the Amended

  Complaint is accurate and further admitted TriPride’s president did not request the removal of an

  individual expressing a contrary viewpoint to LGBT issues because the person was engaging in a

  civil, non-disruptive, respectful conversation.

            73.    Admitted.

            74.    Admitted in part and denied in part. Admitted after the parade was complete,

  certain streets were opened to vehicular traffic. It is admitted that the initial security perimeter

  around the “event” was reduced, but it is denied that the TriPride Festival included any area other

  than that identified in the application and site plans, including the closure of a portion of Commerce

  Street adjacent to the sidewalk where the plaintiffs were located for several hours.

            75.    Admitted.

            76.    Admitted.

            77.    Admitted.

            78.    Admitted.



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           79.    Denied as stated. The Johnson City law enforcement officers were instructed that

   TriPride had rented Founders Park and could restrict who enters the Festival area – meaning only

   the area within Founders Park, not the “event” area within the security perimeter.

           80.    Denied that TriPride was instructed that its control of the space it had rented was

   limited to a security threat or that the involved law enforcement officers were improperly

   instructed.

           81.    Denied that TriPride’s control was restricted in any way that would limit its First

   Amendment rights to conduct its Festival for the purposes reflected in its application approved by

   the City or that the involved law enforcement officers were improperly trained or instructed.

           82.    It is denied that TriPride representatives were present or involved or requested to

   be at the security perimeter checkpoints.

           83.    It is admitted that TriPride did not post any representative at the security

   checkpoints in the security perimeter where access to the event area was determined.

           84.    It is admitted the plaintiffs went through a security checkpoint, but thereafter were

   free to go within the perimeter of the boundaries established by the checkpoints that included an

   area much larger than the public park where the TriPride Festival was being held.

           85-86. The allegations in paragraphs 85 and 86 are admitted with the exception that

   TriPride had reserved Founders Park, TriPride had its own expressive message, and TriPride was

   entitled to control its expressive message during the limited period of time it had reserved Founders

   Park.

           87.    The allegations in paragraph 87 are admitted with the exception that TriPride had

   reserved Founders Park, TriPride had its own expressive message, and TriPride was entitled to

   control its expressive message during the limited period of time it had reserved Founders Park.



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           88.      Deny the allegations to the extent that the video recordings show the plaintiffs and

   their associates activities directed to the Festival attendees.

           89.      Deny the allegations to the extent the video recordings show the plaintiffs and their

   associates activities directed to the Festival attendees.

           90.      Admitted in part, denied in part. Captain Rice did not observe the plaintiffs except

   when they were on the sidewalk adjacent to the closed section of Commerce Street and concluded

   that from that location the plaintiffs were not unduly interfering with the Festival activities.

           91-92. With respect to the allegations in paragraphs 91 and 92, Plaintiff Self was in the

   Festival area peacefully discussing his message one-on-one, handing out religious literature and

   voluntarily came outside to where Plaintiff Waldrop and his associates were located. The plaintiffs

   and their associates thereafter were engaging Festival attendees from a grassy embankment when

   they were directed to move six (6) to eight (8) feet to a sidewalk on the perimeter of Founders

   Park, but within the footprint of the Festival area reserved by TriPride and for which a permit had

   been issued. It is denied that other than Self, that the plaintiff and his associates attempted to

   peacefully walk through Founders Park before or after they were directed to stay on the sidewalk

   which was adjacent to Commerce Street which was closed as a part of the Festival.

           93. It is admitted that Plaintiff Self was not using an amplification device when he was

   peacefully and in a non-disruptive manner walking through the TriPride Festival in Founders Park

   handing out religious literature, but it is denied that Plaintiff Waldrop or his other associates at any

   time attempted to walk through the TriPride Festival area in Founders Park with or without

   amplification.

           94.      Denied as stated, the plaintiffs remained within the Festival footprint.

           95-97. It is denied that the plaintiffs were removed from Founders Park while they were



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   attempting to walk through Founders Park, but admitted the plaintiffs were directed to move from

   their location on a grassy strip approximately six (6) to eight (8) feet to a sidewalk adjacent to

   Commerce Street which was closed and was within the TriPride Festival footprint.

            98.     It is admitted that Lt. Peters told the plaintiffs if they went further into Founders

   Park from the sidewalk and from which they were engaging Festival attendees that they would be

   cited.

            99.     Admitted.

            100.    Admitted.

            101.    It is admitted that Lt. Peters directed the plaintiffs to move to a sidewalk on the

   perimeter of Founders Park adjacent to Commerce Street, which was closed, but within TriPride’s

   Festival footprint for which TriPride had received a permit.

            102-107. Upon information and belief, admitted.

            108.    Denied.

            109.    Denied as stated, but admitted that Sgt. Hodges confirmed for former Plaintiff

   Fisher that Fisher was correct that they would not be allowed to take their signs on poles through

   the security checkpoints into the event area.

            110.    Admitted.

            111.    Admitted.

            112.    Denied to the extent that it is alleged that Captain Rice was interpreting the Special

   Events Policy.

            113.    Denied in part and admitted in part. A TriPride representative did ask Captain Rice

   to move the plaintiffs and their associates from their position at the perimeter of Founders Park,

   but within the Festival footprint. Captain Rice concluded the plaintiffs and their associates were



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   not unduly interfering with TriPride’s Festival activities from that location.

          114.    The allegations in paragraph 114 are denied. Sgt. Hodges moving of the plaintiffs

   and their associates – along with another group – from the railroad’s right-of-way was unrelated

   to any instructions given to the officers related to the September 15, 2018 TriPride Festival. The

   officers who advised the plaintiffs that TriPride did not want them in the Festival area were acting

   pursuant to instructions given by senior police officials that “TriPride committee members have

   rented Founder’s Park and can restrict who enters the main Festival area.” Johnson City admits

   that this instruction is deemed the policy of the City for this event on September 15, 2018. Johnson

   City denies that there was any constitutional duty to provide training on this instruction given one

   time for one event.

          115.    The allegations in paragraph 115 are denied as stated. To the City’s knowledge, the

   only officer who cautioned as to the possibility of arrest was Lt. Peters as alleged in paragraph

   100. Lt. Peters’ action was taken pursuant to instructions given by senior Police Department

   officials on the day of the TriPride event. However, it is admitted that the authority for giving such

   an instruction was that TriPride had obtained a permit to use Founders Park for a limited period of

   time on September 15, 2018 to hold a Festival for the purposes contained in its applications which

   had been approved by the City.

          116-118. The allegations in paragraphs 116, 117, and 118 are denied as stated. The City’s

   position is that the plaintiffs’ First Amendment rights were complied with by allowing them to

   engage with the Festival attendees, with amplification, from the sidewalk at the edge of Founders

   Park within the Festival‘s footprint for which TriPride had obtained a permit.

          119-120. The City objects to the plaintiffs asserting in a Complaint discussions of

   settlement in violation of Federal Rule of Evidence 408. Without waiving that objection, the



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   allegations are admitted.

          121.    Denied.

          122.    Denied.

          123.    Denied.

          124.    Denied.

          125.    Denied.

          126.    Denied that any Equal Protection Clause claim has been asserted. The original

   Complaint did not contain any such claim, and the plaintiffs represented to the Court in their

   Motion to Amend their Complaint that they were not asserting any new legal claims.

          127-128. Admitted to the extent that the plaintiffs were advised with the possibility of a

   citation or arrest based on the City’s instruction to its officers that “TriPride committee members

   have rented Founder’s Park and can restrict who enters the Festival area.”

          129.    Denied. As shown on the video, the plaintiffs and their associates were attempting

   to engage in public humiliation of others.

          130.    Denied. As shown on the video, the plaintiffs and their associates were attempting

   to engage in public embarrassment of others.

          131.    Denied.

          132.    Denied.

          133.    Denied.

          134.    Denied.

          135.    Denied.

          136.    Denied.

          137.    Denied.



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          138.     Denied.

          139.    Denied.

          140.    This responding defendant is without knowledge or information to admit or deny

   the future intentions of the plaintiffs. It is denied that the Special Event Policy or any policy,

   practice or procedure of the City impairs the plaintiffs’ constitutional rights.

          141.    Denied.

          142.    Denied.

          143.    Denied.

          144.    Denied.

          145.    Admitted, including the protection of the free speech rights of any group who has

   reserved a limited space for a limited time and obtained a permit for purposes of conveying their

   own expressive message.

          146.    Denied.

          147.    Denied.

          148.    Denied.

          149.    Denied.

          150.    Denied.

          151.    Denied.

          152-153.        Denied. The City’s obligation was to provide any training required under

   Tennessee law or any remedial training in the event that repeated violations of the law had become

   apparent to City administrators so as to put the City on notice of the need for particularized

   remedial training.

          154.    Denied.



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          155.    There are no conditions precedent to bringing this action.

          156.    Denied.

          157.    The responses and defenses heretofore made are incorporated by reference as a

   response to Paragraph 157 of the Complaint.

          158.    Admitted.

          159.    Denied.

          160.    The allegations of paragraph 160 are denied except and to the extent that it is

   admitted that the officers were acting under color of law.

          161.    Denied.

          162.    Denied.

          163.    Denied.

          164.     Denied.

          165.    Denied.

          166.    Denied.

          167.    Denied.

          168.    Denied.

          169.    Denied.

          170.    The responding defendant’s answers and defenses heretofore asserted to

   Paragraphs one (1) through one hundred fifty-six (156) of the Complaint are incorporated here by

   reference.

          171.    Admitted.

          172.    This responding defendant is without sufficient knowledge or information to admit

   or deny the plaintiffs’ shared beliefs and mandates or their purpose in engaging in certain activities.



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   Any remaining allegations contained in Paragraph one hundred seventy-two (172) of the

   Complaint are denied.

          173.    This responding defendant is without sufficient knowledge or information to admit

   or deny the guidance the plaintiffs contend they receive to engage in their activities.

          174.    Denied.

          175.    The allegations of paragraph 175 are denied except and to the extent that it is

   admitted that the officers were acting under color of law.

          176.    Denied.

          177.    Denied.

          178.    Denied.

          179.    Denied.

          180.    Denied.

          181.    Denied.

          182.    Denied.

          183.    Denied.

          184.    Denied.

          185.    Denied.

          186.    Denied.

          187.    This responding defendant’s responses and defenses heretofore asserted in

   Paragraphs one (1) through one hundred fifty-six (156) of the Complaint are here incorporated by

   reference.

          188.    Denied.

          189.    Denied.



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           190.      Denied.

           191.      Denied.

           192.      Denied.

           193.      Denied.

           194.      Denied.

           195.      Denied.

           196.      Denied.

           197.      This responding defendant’s responses and defenses heretofore asserted in

   Paragraphs one (1) through one hundred fifty-six (156) of the Complaint are incorporated here by

   reference.

           198.      Denied as stated. Further, to the extent plaintiffs are asserting that Tennessee’s

   Religious Freedom Restoration Act (“RFRA”) prohibits the City or its officers from protecting the

   expressive message of TriPride, such assertion would violate the First Amendment to the United

   States Constitution. Finally, the RFRA is inaccurately cited in Paragraph one hundred ninety-eight

   (198) of the Complaint.

           199. This responding defendant is without sufficient knowledge or information to admit

   or deny the plaintiffs’ shared beliefs and mandates or their purpose in engaging in certain activities.

   Any remaining allegations contained in Paragraph one hundred ninety-nine (199) of the Complaint

   are denied.

           200.      This responding defendant does not question the sincerely held religious beliefs of

   the plaintiffs.

           201.      Denied.

           202.      This responding defendant does not question the sincerely held religious beliefs of



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   the plaintiffs.

           203.      Denied.

           204.      Denied.

           205.      Denied.

           206.      Denied.

           207.      Denied.

           208.      Denied.

           209.      Denied.

           210.      Denied.

           211.      Denied.

           212.      Denied.

           213.      All allegations express or implied not heretofore expressly admitted are here

   generally denied.

           214.      Plaintiffs request for a trial by jury is noted. Defendant also demands a trial by

   jury.

           215.      It is denied the plaintiffs are entitled to any relief from this responding defendant.



                                                            Respectfully submitted,

                                                            s/K. Erickson Herrin
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